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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES OF AMERICA
                                              No. 15 CR 485–9
     v.

JOSÉ ANTONIO MIRELES, JR.,                    Judge Virginia M. Kendall
  also known as “Choi”



    GOVERNMENT’S REVISED MOTIONS TO INTRODUCE CERTAIN
                        EVIDENCE
    UNDER FEDERAL RULES OF EVIDENCE 404(b) AND 801(d)(2)(E)
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      The UNITED STATES OF AMERICA, through JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, respectfully moves this

Court to admit certain statements against defendant José Antonio Mireles, Jr.,

pursuant to Federal Rules of Evidence 104(a) and 801(d)(2)(E), as well as per United

States v. Santiago, 582 F.2d 1128 (7th Cir. 1978). The government further seeks

permission to admit certain evidence under Rule 404(b).

      The only difference between this filing and the government’s original Santiago

proffer and motion to admit certain evidence under Rule 404(b), filed on July 8, 2019

(R. 698) is that Section I.C. (“The Evidence Demonstrating the Existence of the

Charged Conspiracy and Defendants’ Participation in the Conspiracy”) and other

relevant portions of the memo have been adjusted to reflect that the government now

intends to call Edgar Roque as a cooperating witness at trial in place of Jesus

Valencia.

      On July 25, 2019, this Court accepted the government’s initial Santiago proffer

as sufficient for purposes of Rule 801(d)(2)(E). Exhibit A, 11-12. The Court also ruled

that evidence of defendant’s failure to file tax returns and the evidence of his flight

were properly admissible under Rule 404(b)(2). Id. at 17-18, 22-28.

      In support of its revised motion, the government states as follows:

                                    Introduction

      Defendant José Antonio Mireles, Jr., conspired with, among others, Edgar

Roque, Richard Roque, Jesus Valencia, Donald Williams, Phillip Diaz, Ivan Diaz,

Jorge Luis Ochoa-Canela, Omar Ramirez, Steven G. Mendoza, Gerardo Sanchez,

Angelica Cervantes, Juan Cervantes, Martell Jackson, Julio Andrade, Manuel
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Aragon Contreras, José Davila, and Anthony Hermosillo, to distribute wholesale

quantities of cocaine and heroin in the Chicago area. These narcotics were obtained

from cartel members operating in Mexico and frequently shipped from Los Angeles

to Chicago via Amtrak’s freight service, Amtrak Express.

      During the government’s investigation, the government obtained court

authorization to wiretap various cellular telephones, BlackBerry Messenger

accounts, and Instagram accounts. The government also searched—per court-

authorized search warrants—numerous cellular telephones as well as more than ten

separate Instagram accounts for evidence of this drug-trafficking operation. Among

the   accounts   searched    was   Mireles’s   account,    assigned   account   name

“oohkillem420k.” During communications obtained through these wiretaps and

warrants, Mireles and his co-conspirators spoke about narcotics, traveling to meet

with cartel members, and firearms.

      This motion summarizes the evidence supporting the admission of

coconspirators’ statements against Mireles and the bases for their admissibility

pursuant to Rule 801(d)(2)(E). The government further requests a pretrial ruling of

admissibility from the Court, in accordance with United States v. Santiago, 582 F.2d

1128, 1130-31 (7th Cir. 1978) and established practice in this Circuit. See United

States v. Alviar, 573 F.3d 526, 540 (7th Cir. 2009); United States v. Harris, 585 F.3d

394, 398, 400 (7th Cir. 2009).

      Additionally, the government seeks permission to introduce under Rule 404(b)

evidence of Mireles’s escape from law enforcement at the time of his arrest in




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October 2016 as well as of Mireles’s failure to file tax returns at relevant times.

Regarding Mireles’s escape, DEA agents and other officers arrested Mireles in the

morning of October 25, 2016 in the Los Angeles area. Law enforcement officer placed

Mireles in handcuffs, seated him in the backseat of a vehicle, and began to transport

him to DEA’s offices. While on the way, Mireles managed to open the backseat door

to the vehicle, after which he jumped out of the vehicle, ran across moving traffic,

entered another vehicle parked on the side of the road, and fled. He remained a

fugitive for over a year until he was arrested in May 2018. Given the circumstances,

Mireles’s escape helps to prove he knew that he was guilty of having committed drug-

trafficking crimes and did not want to go to prison for his conduct.

      Meanwhile, Mireles’s failure to file taxes helps to prove that he knowingly

helped to funnel drug proceeds through at least one bank account in his name and

that he controlled. According to bank records, Mireles had an account ending in 2095

at Bank of America. Records further show numerous cash deposits and cash

withdrawals flowing through that account between December 2014 and June 2015.

That Mireles failed to file tax returns suggests that he did not want the government

to learn that the true source of these funds was drug dealing.

                                    Background

      The drug-trafficking and money-laundering organization charged in this case

was formed no later than in or around 2010. Mireles joined the conspiracy by no later

than November 2013. The leader of the organization, Edgar Roque, directed

numerous others to package narcotics in Los Angeles and ship them to the Chicago

area and elsewhere.


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      Edgar Roque knew customers in the Chicago area who purchased wholesale

quantities of cocaine. One of the customers in Chicago was Martell Jackson, who was

known as “Li’l Pimp.” The primary method that the organization used to transport

narcotics was through Amtrak Express, Amtrak’s package shipping service. Between

2013 and 2015 alone, the conspirators shipped over 150 separate packages containing

narcotics via Amtrak Express from Los Angeles to Chicago. At a minimum, each

package contained approximately three kilograms of cocaine, and frequently, the

packages contained larger quantities of cocaine and kilogram quantities of heroin.

      Edgar Roque also had a number of individuals who worked for him to help with

the shipment of narcotics from the Los Angeles area to Chicago. Early in the

conspiracy, Julio Andrade, Jesus Valencia, Manuel Contreras, and others were

responsible for packaging the narcotics into boxes in Los Angeles, shipping the

packages, and picking up the packages once they arrived in the Chicago area. Edgar

Roque’s Chicago-based customer Martell Jackson also assisted with picking up

packages in Chicago and delivering those narcotics to other customers. At other times

later in the conspiracy, Mireles, along with Angelica Cervantes, Juan Cervantes,

Gerardo Sanchez, Jorge Ochoa-Canela, Steven Mendoza, Omar Ramirez, Ivan Diaz,

Phillip Diaz, and others also picked up narcotics packages, operated multiple stash

houses in the Chicago area, delivered narcotics to customers in Chicago and

elsewhere, and picked up narcotics proceeds to be returned back to Los Angeles and

Mexico.




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      The members of the conspiracy operated a number of stash houses in the

Chicago area. One was located at 5322 S. Mozart Street in Chicago, and during the

conspiracy, individuals including Mireles, Valencia, Contreras, Gerardo Sanchez, and

Phillip Diaz worked there to store and move narcotics and drug proceeds or otherwise

brought narcotics and proceeds there. Later, Phillip Diaz rented an apartment

located at 33 Adams Court in Streamwood, Illinois, for the conspirators to use to store

narcotics and drug proceeds. In June 2015, Ivan Diaz retrieved a number of narcotics

packages from Amtrak’s facilities in Chicago and brought them to the Streamwood

stash house. That same month, Ivan Diaz met at the Streamwood stash house with

Mireles and Edgar Roque. At that time, the stash house contained approximately

$96,000 in narcotics proceeds (proceeds from the sale of more than three kilograms of

cocaine), multiple drug ledgers, and approximately 25 empty boxes that had

previously contained narcotics and shipped on Amtrak.

      The conspirators delivered narcotics to customers outside of the Chicago area.

For instance, on March 16, 2016, Edgar Roque had Instagram Direct communications

with, among others, Mireles, Richard Roque, Phillip Diaz, and Ochoa Canela. During

the communications, Richard asked if “Ajax [was] off” and asked what Edgar meant

by that he “took the ones they where [were] in their [there].” Edgar responded that

he “took like 2 points” and asked, “Why, what they told u?” Edgar also said that he

weighed it, and it was “28.2,” which the government will show meant that Edgar

weighed ounce-quantities of narcotics. Richard asked if Edgar “took the two bags,”

and Edgar responded that only one was there. Richard said, “[T]here were 3,” to which




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Edgar replied, “I only took 1.” This conversation appears to be a discussion between

Edgar and Richard about ounce quantities of narcotics that Edgar took from a

particular location.

         In May 2016, Edgar Roque traveled to Culiacán, Mexico, to meet with his drug

supplier. Edgar had numerous intercepted communications with the supplier about

the planned meeting and future narcotics transactions. Edgar separately had

intercepted communications with Mireles, Phillip Diaz, Ochoa Canela, and Richard

Roque about the trip. For instance, on May 9, 2016, Edgar had Instagram Direct

communications with Mireles, Phillip Diaz, Ochoa Canela, Richard Roque, and

others. Edgar said, “I need a ride to tj [Tijuana]. . . . I need a ride.” Edgar’s brother,

Individual A, eventually wrote, “Take him tee [Ochoa-Canela’s nickname].” Records

further show that Edgar did indeed meet with his drug supplier on May 12 and 13.

                                      Argument

I.       Admission of Coconspirator Statements under Rule 801(d)(2)(E)

         A.    Introduction

         In this submission, the government describes the law governing coconspirator

statements, outlines some of its evidence establishing the charged conspiracy, and

sets forth some of the coconspirator statements for which a pretrial ruling by the

Court is requested, in accordance with United States v. Santiago, 582 F.2d 1128,

1130-31 (7th Cir. 1978), and established practice in this Circuit. E.g., United States

v. Davis, 845 F.3d 282, 286 (7th Cir. 2016); United States v. Alviar, 573 F.3d 526, 540

(7th Cir. 2009); United States v. Harris, 585 F.3d 394, 398, 400 (7th Cir. 2009).




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       This submission does not detail all of the government’s evidence that would

show the existence of the drug-trafficking conspiracy or all of the coconspirator

statements that were made in furtherance of the charged drug-trafficking and money-

laundering    conspiracy.   Rather,    this    submission highlights      certain of    the

government’s evidence sufficient to establish the existence of the conspiracy described

in Counts One and Seven of the Fourth Superseding Indictment and the participation

of the coconspirators. R. 293. As a result, this submission does not list all of the

government’s evidence and witnesses, nor does it provide all of the evidence that will

be presented by identified witnesses. Finally, by presenting statements attributed to

particular witnesses, the government is not committing to call each of the witnesses

for each of the statements attributed.

       B.     Governing Law

       Under Federal Rule of Evidence 801(d), a “statement” is not hearsay if it “is

offered against a party” and is “a statement by a coconspirator of a party during the

course and in furtherance of the conspiracy.” Fed. R. Evid. 801(d)(2)(E). Admission of

such coconspirator statements against a defendant is proper where the government

establishes by a preponderance of the evidence that: (i) a conspiracy existed; (ii) the

defendant and the declarant were members of the conspiracy; and (iii) the statements

were made during the course and in furtherance of the conspiracy. United States v.

Cruz-Rea, 626 F.3d 929, 937 (7th Cir. 2010). 1


       1      No Sixth Amendment confrontation issues arise by the use of a non-testifying
coconspirator’s statements, offered for their truth against a defendant because they are not
testimonial. United States v. Nicksion, 628 F.3d 368, 374 (7th Cir. 2010) (citing Davis v.
Washington, 547 U.S. 813, 823–24 (2006), and Crawford v. Washington, 541 U.S. 36 (2004));


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             1.     Existence of and Membership in the Conspiracy

      Per United States v. Santiago, this Court must make a preliminary

determination about whether statements by the defendants’ coconspirators will be

admissible at trial under Federal Rule of Evidence 801(d)(2)(E). In making this

determination, this Court must decide whether “the declarant and the defendant

were members of a conspiracy when the hearsay statement was made, and that the

statement was in furtherance of the conspiracy.” Santiago, 582 F.2d at 1134 (quoting

United States v. Petrozziello, 548 F.2d 20, 23 (1st Cir. 1977)); see also United States

v. Hoover, 246 F.3d 1054, 1060 (7th Cir. 2001). If this Court determines the

statements are admissible, the jury may consider them for any purpose. United States

v. Thompson, 944 F.2d 1331, 1345 (7th Cir. 1991).

      Before the government can introduce coconspirator statements at trial, the

government first must make a preliminary offer of evidence to show: (i) that a

conspiracy existed; (ii) that the defendants and declarant were members of the

conspiracy; and (iii) that the statements sought to be admitted were made during and

in furtherance of the conspiracy. E.g., Davis, 845 F.3d at 286; Alviar, 573 F.3d at 540;

Santiago, 582 F.2d at 1134-35. The government bears the burden to make this

showing by a preponderance of the evidence. Davis, 845 F.3d at 288. The court can

consider the contents of the statements themselves in deciding whether to admit the

statements under Rule 801(d)(1)(E). Bourjaily v. United States, 483 U.S. 171, 176-81




see also United States v. Hargrove, 508 F.3d 445, 448-49 (7th Cir. 2007) (coconspirator
statements are neither hearsay nor testimonial).



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(1987); Davis, 845 F.3d at 286. Seventh Circuit cases construing Bourjaily also have

held that properly admitted hearsay may be used to prove what another person did

or said that may demonstrate their membership in the conspiracy. United States v.

Loscalzo, 18 F.3d 374, 383 (7th Cir. 1994) (“[W]hile only the defendant’s acts or

statements could be used to prove that defendant’s membership in a conspiracy,

evidence of that defendant’s acts or statements may be provided by the statements of

co-conspirators.”); United States v. Martinez de Ortiz, 907 F.2d 629, 633 (7th Cir.

1990) (en banc).

       While this Court may consider the proffered statements themselves as

evidence of both the existence of a conspiracy and the defendants’ participation in it,

see Davis, 845 F.3d at 286, the contents of the proffered statements alone are not

sufficient to establish the existence of a conspiracy and a defendant’s participation in

it. The government also must introduce some supporting evidence or facts

corroborating the existence of the conspiracy and a defendant’s participation. Id.;

Harris, 585 F.3d at 398–99. The evidence showing the existence of a conspiracy and

a defendant’s membership in it may be either direct or circumstantial. See United

States v. Johnson, 592 F.3d 749, 754-55 (7th Cir. 2010); United States v. Irorere, 228

F.3d 816, 823 (7th Cir. 2000). 2


       2        The coconspirator-statement rule does not apply when a statement is not being
offered for the truth of the matter asserted. Accordingly, statements by coconspirators may
be admitted against a defendant, without establishing the Bourjaily factual predicates set
forth above, when such statements are offered to show, for instance, the existence, the
illegality, or the nature or scope of the charged conspiracy. See United States v. Guyton, 36
F.3d 655, 658 (7th Cir. 1994) (statement that defendant out of cocaine not hearsay because
showed membership in conspiracy); United States v. Herrera-Medina, 853 F.2d 564, 565–66
(7th Cir. 1988) (addressing “war stories” about the drug trade); United States v. Van Daal


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      The government is not required under Rule 801(d)(2)(E) to establish all

elements of a conspiracy, such as a meeting of the minds and an overt act. United

States v. Coe, 718 F.2d 830, 835 (7th Cir. 1983); United States v. Gil, 604 F.2d 546,

548–50 (7th Cir. 1979). The government only needs to prove the existence of a joint

venture for an illegal purpose (or for a legal purpose using illegal means) and

participation in the joint venture by the defendant and the maker of the statement

at issue (as well as that the statement was in furtherance of the venture). “[I]t makes

no difference whether the declarant or any other ‘partner in crime’ could actually be

tried, convicted and punished for the crime of conspiracy.” Gil, 604 F.2d at 549–50;

see also Coe, 718 F.2d at 835.

      In these ways, a distinction exists between conspiracy law and admissibility

under Rule 801(d)(2)(E). Nevertheless, certain principles of general conspiracy law

are relevant to the Rule 801(d)(2)(E) inquiries. For instance, “[a] conspiracy may exist

even if a conspirator does not agree to commit or facilitate each and every part of the

substantive offense.” Salinas v. United States, 522 U.S. 52, 63 (1997); see also United

States v. Longstreet, 567 F.3d 911, 919 (7th Cir. 2009); United States v. Jones, 275

F.3d 648, 652 (7th Cir. 2001). Additionally, the government does not need to prove

that a defendant knew each and every detail of the conspiracy or played more than a

minor role in the conspiracy. United States v. Curtis, 324 F.3d 501, 506 (7th Cir.




Wyk, 840 F.2d 494, 497–98 (7th Cir. 1988) (statements had non-hearsay value to establish
knowledge of and membership in conspiracy); United States v. Tuchow, 768 F.2d 855, 867–
69 (7th Cir. 1985) (pre-conspiracy statements admissible to set scope of anticipated
conspiracy).



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2003). Further, a defendant joins a criminal conspiracy if he agrees with another

person to one or more of the common objectives of the conspiracy; whether the

defendant knows, has met, or has agreed with every coconspirator are not material

considerations. Longstreet, 567 F.3d at 919; Jones, 275 F.3d at 652.

      A defendant or other declarant may be found to have participated in a

conspiracy even if he joined or terminated his relationship with other conspirators at

different times than another defendant or coconspirator. United States v. Noble, 754

F.2d 1324, 1329 (7th Cir. 1985); see also United States v. Handlin, 366 F.3d 584, 590

(7th Cir. 2004) (holding that “it is irrelevant when the defendant joined the conspiracy

so long as he joined it at some point”). Under Rule 801(d)(2)(E), a coconspirator’s

statement is admissible against conspirators who join the conspiracy after the

statement is made. United States v. Sophie, 900 F.2d 1064, 1074 (7th Cir. 1990). A

coconspirator who has become inactive or less active in the conspiracy nevertheless

is liable for his coconspirators’ further statements unless he openly disavows the

conspiracy or reports it to the police. See United States v. Feldman, 825 F.2d 124, 129

(7th Cir. 1987).

      The government is not required to prove the identity of the declarant; nor must

the declarant’s identity be confirmed in the statement itself. See United States v.

Bolivar, 532 F.3d 599, 604-05 (7th Cir. 2008). Rather, the government need only

prove—from the statement, the context, or other evidence—that the declarant was in

fact a coconspirator. Id.




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             2.    “In Furtherance of” the Conspiracy

      In determining whether a statement was made “in furtherance” of the

conspiracy, courts evaluate the statement in the context in which it was made and

look for a reasonable basis upon which to conclude that the statement furthered the

conspiracy. See Cruz-Rea, 626 F.3d at 937; United States v. Johnson, 200 F.3d 529,

533 (7th Cir. 2000). Under the reasonable basis standard, a statement may be

susceptible to alternative interpretations and still be “in furtherance” of the

conspiracy. Cruz-Rea, 626 F.3d at 937-38. The “coconspirator’s statement need not

have been made exclusively, or even primarily, to further the conspiracy” to be

admissible under the coconspirator exception. Id. at 937 (quotations and citations

omitted). That statements were made to a government cooperating witness or

undercover agent does not bar admission of statements otherwise “in furtherance” of

the conspiracy. United States v. Mahkimetas, 991 F.2d 379, 383 (7th Cir. 1993); see

also United States v. Ayala, 601 F.3d 256, 268 (4th Cir. 2010).

      “Courts have found a wide range of statements to satisfy the ‘in furtherance’

requirement.” United States v. Cozzo, 2004 WL 1151630 *2–3 (N.D. Ill. 2004)

(collecting cases). In general, a statement that is “part of the information flow

between conspirators intended to help each perform his role” satisfies the “in

furtherance” requirement. Alviar, 573 F.3d at 545 (quotations and citations omitted);

see also United States v. Gajo, 290 F.3d 922, 929 (7th Cir. 2002). These include

statements made:




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      •      To conduct or help to conduct the business of the scheme, United States
             v. Cox, 923 F.2d 519, 527 (7th Cir. 1991); see also United States v.
             Johnson, 200 F.3d 529, 533 (7th Cir. 2000) 3;

      •      To recruit potential coconspirators, Cruz-Rea, 626 F.3d at 937–38;
             United States v. Haynes, 582 F.3d 686, 705 (7th Cir. 2009), abrogated on
             other grounds by United States v. Vizcarra, 668 F.3d 516 (7th Cir. 2012);

      •      To identify other members of the conspiracy and their roles, Alviar, 573
             F.3d at 545;

      •      To plan or to review a coconspirator’s exploits, United States v. Molt, 772
             F.2d 366, 369 (7th Cir. 1985);

      •      As an assurance that a coconspirator can be trusted to perform his role,
             United States v. Sophie, 900 F.2d 1064, 1073–74 (7th Cir. 1990); see also
             United States v. Bustamante, 493 F.3d 879, 890–91 (7th Cir. 2007);

      •      To inform and update others about the current status of the conspiracy
             or a conspiracy’s progress (including failures), United States v. Rea, 621
             F.3d 595, 605 (7th Cir. 2010); Alviar, 573 F.3d at 545;

      •      To control damage to an ongoing conspiracy, United States v. Johnson,
             200 F.3d 529, 533 (7th Cir. 2000); United States v. Molinaro, 877 F.2d
             1341, 1343-44 (7th Cir. 1989); Van Daal Wyk, 840 F.2d at 499;

      •      To conceal a conspiracy where ongoing concealment is a purpose of the
             conspiracy, Gajo, 290 F.3d at 928–29; United States v. Kaden, 819 F.2d
             813, 820 (7th Cir. 1987); see also United States v. Maloney, 71 F.3d 645,
             659-60 (7th Cir. 1995);

      •      To reassure or calm the listener regarding the progress or stability of
             the scheme, Sophie, 900 F.2d at 1073; Garlington v. O’Leary, 879 F.2d
             277, 284 (7th Cir. 1989);

      •      To report conspirators’ status and in turn receive assurances of
             assistance from coconspirators, United States v. Prieto, 549 F.3d 513
             (7th Cir. 2008);

      •      “[D]escribing the purpose, method or criminality of the conspiracy,”
             United States v. Ashman, 979 F.2d 469, 489 (7th Cir. 1992); and


      3       Statements that prompt the listener to act in a manner that facilitates the
carrying out of the conspiracy are also made “in furtherance” of the conspiracy. See United
States v. Monus, 128 F.3d 376, 392 (6th Cir. 1997).



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      •      Statements to outsiders “to serve as a salesmanship technique to
             enhance his position in the eyes of [the outsider] and give confidence
             about the ability of the organization,” United States v. Stephenson, 53
             F.3d 836, 845 (7th Cir. 1995); United States v. Curtis, 37 F.3d 301, 308
             (7th Cir. 1994).

      Finally, any statement made by a conspirator during and in furtherance of a

conspiracy is admissible against all coconspirators. United States v. Lindemann, 85

F.3d 1232, 1238 (7th Cir. 1996); Beeson v. United States, 90 F.2d 720 (7th Cir. 1937).

Indeed, whether or not “any other conspirator heard (or, in this instance, saw) that

statement is irrelevant; agency, not knowledge, is the theory of admissibility.” United

States v. Rivera, 136 F. App’x 925, 926 (7th Cir. 2005).

             3.     Alternative Bases for Admissibility of Statements

      Various statements made during the course of a conspiracy are independently

admissible and do not require a Rule 801(d)(2)(E) analysis.

                    a.     A Defendant’s Own Statements

      A defendant’s own admissions are admissible against him without reliance on

the coconspirator-statement rule. Fed. R. Evid. 801(d)(2)(A); see also United States v.

Maholias, 985 F.2d 869, 877 (7th Cir. 1993). According to Rule 801(d)(2)(A), a

“statement” is not hearsay if “[t]he statement is offered against a party and is . . . the

party’s own statement, in either an individual or a representative capacity.”

      Moreover, statements during a conversation with a defendant that are offered

by the government to provide context for a defendant’s statements are, as a general

matter, admissible as non-hearsay. For example, in United States v. Gaytan, 649 F.3d

573 (7th Cir. 2011), the Seventh Circuit addressed the district court’s introduction of

a confidential informant’s recorded statements to the defendant. The court of appeals


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held that the challenged statements were non-hearsay because they were offered not

for their truth but to put the defendant’s “own words in context and to help the jury

make sense out of his reaction to what [the informant] said and did.” Id. at 580

(defendant’s responses “would have been unintelligible without the context provided

by [the informant’s] statements”). Likewise, a statement that is incapable of

verification—such as a suggestion, question, offer, demand, or order—does not

constitute hearsay because it “do[es] not make any truth claims.” United States v.

Montana, 199 F.3d 947, 950 (7th Cir. 1999).

      Finally, a defendant’s own admissions are relevant to establish the factual

predicates for the admission of coconspirator statements against him. United States

v. Godinez, 110 F.3d 448, 455 (7th Cir. 1997); United States v. Potts, 840 F.2d 368,

371–72 (7th Cir. 1987).

                    b.     Non-Hearsay Statements

      The coconspirator statement rule is not implicated when the relevant verbal

declaration is not a “statement” within the meaning of Rule 801(a), that is, not an

“assertion” subject to verification. For example, orders and suggestions are not

hearsay statements. See Tuchow, 768 F.2d at 868 n.18. This is because a “statement”

is defined as “an oral or written assertion” or “nonverbal conduct of a person, if it is

intended by the person as an assertion.” Fed. R. Evid. 801(a). Thus, a statement

which is incapable of verification, such as an order or a mere suggestion, is not

hearsay and does not invoke a Rule 801(d)(2)(E) analysis. See Tuchow, 768 F.2d

at 868.




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       The coconspirator statement rule likewise does not apply when a statement is

not being offered for the truth of the matter asserted; in such circumstances, the

statement does not constitute “hearsay” as defined by Rule 801(c). 4 Accordingly,

statements by alleged coconspirators may be admitted against a defendant, without

establishing the Bourjaily factual predicates when such statements are offered

simply to show, for instance, the existence, the illegality, or the nature or scope of the

charged conspiracy. Gajo, 290 F.3d at 929–30; see also Herrera-Medina, 853 F.2d

at 565–66; Van Daal Wyk, 840 F.2d at 497–98; Tuchow, 768 F.2d at 867–69.

                      c.     Statements against Penal Interest

       Under Rule 804(b)(3), a hearsay statement is admissible if (1) the declarant is

unavailable; (2) the statement was against the declarant’s penal interest at the time

it was made; and (3) corroborating circumstances exist indicating that the statement

is trustworthy. E.g., United States v. Ferrell, 816 F.3d 433, 439 (7th Cir. 2015); United

States v. Lewis, 641 F.3d 773, 783 (7th Cir. 2011). When determining whether a

statement is against penal interest, each portion of a proffered out-of-court statement

is examined to determine whether it subjected the declarant to criminal liability.

United States v. Westmoreland, 240 F.3d 618, 626 (7th Cir. 2001). A statement may

satisfy this requirement if it would be probative at trial against the declarant. United

States v. Nagib, 56 F.3d 798, 804 (7th Cir. 1995).




       4      According to Rule 801(c), hearsay is “a statement, other than one made by the
declarant while testifying at the trial or hearing, offered in evidence to prove the truth of the
matter asserted.”



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      Applying this standard, the Seventh Circuit has held that a declarant’s

inculpatory statements defendants made to friends and acquaintances about crimes

committed by the declarant and his associates are admissible. See, e.g., United States

v. Hamilton, 19 F.3d 350, 357 (7th Cir. 1994) (holding that a jailhouse conversation

between two co-defendants which incriminated a third codefendant but was also

inculpatory of the first two co-defendants was admissible against the third

codefendant); United States v. Curry, 977 F.2d 1042, 1056 (7th Cir. 1992) (affirming

admission of a co-defendant’s inculpatory statement that also incriminated the

defendant in it because it was not made in an attempt to curry favor with law

enforcement, but was made to an acquaintance).

      Such statements against penal interest are admissible against non-declarant

defendants. See United States v. Volpendesto, 746 F.3d 273, 288 (7th Cir. 2014);

United States v. Watson, 525 F.3d 583, 587–88 (7th Cir. 2008); Hamilton, 19 F.3d

at 356; see also United States v. Smalls, 605 F.3d 765, 773–81 (10th Cir. 2010). 5

      C.     The Evidence Demonstrating the Existence of the Charged
             Conspiracy and Defendants’ Participation in the Conspiracy

      At trial, the government plans to introduce evidence to establish that Mireles

conspired with Edgar Roque, Richard Roque, Phillip Diaz, Manuel Aragon Contreras,

Julio Andrade, Anthony Hermosillo, Angelica Cervantes, Juan Cervantes, Ivan Diaz,

Martell Jackson, Steven Mendoza, Jorge Ochoa-Canela, Omar Ramirez, Gerardo




      5         This does not create a Confrontation Clause problem since “[a] statement
unwittingly made to a confidential informant and recorded by the government is not
‘testimonial’ for Confrontation Clause purposes.” Watson, 525 F.3d at 589.



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Sanchez, Jesus Valencia, and others to operate a drug-trafficking organization. The

evidence will show that, among other activities, this organization: (i) obtained

wholesale quantities of narcotics from various suppliers, including those based in

Mexico; (ii) transported these narcotics to downstream customers based in the

Chicago area; (iii) transported a substantial portion of these narcotics via Amtrak

Express; (iv) operated stash houses in the Chicago area for gathering and

redistributing the narcotics transported via Amtrak to Chicago and for organizing

drug proceeds for delivery back to California and elsewhere; and (v) laundered

hundreds of thousands of dollars of drug proceeds from coconspirator bank accounts.

      As set forth below, the evidence that establishes the existence of this drug-

trafficking conspiracy meets the preponderance-of-the-evidence standard applicable

at this stage of the proceedings. Some of the evidence that the government will

present at trial regarding the existence of the charged conspiracy is below.

      To establish the existence of the conspiracy charged in Count One of the Fourth

Superseding Indictment, the government intends to introduce at least the following

evidence at trial: (i) testimony from cooperating individuals regarding their personal

knowledge of the conspiracy and firsthand experience with Mireles’s and co-

conspirators’ criminal activities; (ii) statements by Mireles as well as coconspirators’

statements during conversations intercepted pursuant to authorized Title III

wiretaps of telephones, Instagram accounts, and BlackBerry Messenger devices;

(iii) Mireles’s and coconspirators’ statements obtained via search warrants executed




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on Instagram accounts; (iv) photographs of the coconspirators; (v) Amtrak, bank, and

travel records; and (vi) flight and border-crossing records.

             1.     Cooperating Witness Testimony

      At trial, the government anticipates calling Edgar Roque, Donald Williams,

and possibly other cooperating witnesses.

                    a.     Edgar Roque

      The government anticipates Edgar Roque will testify that he began selling

small quantities of narcotics when he was in the 7th or 8th grade. Years later, Roque

began working with a wholesale narcotics supplier (Individual A) in the Los Angeles

area with a direct connection to the highest levels of the Sinaloa Cartel. Cartel

suppliers in Mexico sent Roque and Individual A semitruck shipments of cocaine to

Los Angeles. Each shipment had kilogram quantities of cocaine hidden inside the

tires. Roque and Individual A sold the cocaine to customers in the Los Angeles area,

and arranged to ship the cocaine from Los Angeles to customers in Chicago via

concealed semitruck shipments. Roque would then fly to Chicago to assist with the

cocaine distribution and to receive the narcotics proceeds, which he then carried back

to Los Angeles.

      In or around 2008, Roque approached a family friend, Individual B, who

worked at Amtrak in Los Angeles to see if it would be possible to ship narcotics from

Los Angeles to Chicago via Amtrak Express. Roque told Individual B the boxes would

contain marijuana as opposed to cocaine or heroin because he did not want to tempt

Individual B to steal. In exchange for $500 per box, Individual B agreed to make sure

boxes filled with narcotics safely got onto Amtrak trains headed to Chicago.


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      Between approximately 2008 and 2015, Roque regularly (i.e. several times per

month) sent boxes full of cocaine and heroin from Los Angeles to Chicago via Amtrak

Express. Each box typically contained at least 20 kilograms of cocaine. During this

period, Roque had a crew of individuals helping him with his drug distribution. The

crew included Richard Roque, Omar Ramirez, Manuel Aragon-Contreras, Julio

Andrade, Steven Mendoza, Juan Cervantes, Angelica Cervantes, Ivan Diaz, Phillip

Diaz, Gerardo Sanchez, Jesus Valencia, and defendant. Roque paid his crew members

to travel to Chicago to receive incoming Amtrak express drug shipments, distribute

the drugs to customers in and around Chicago, collect the proceeds of the drug sales,

and arrange for the proceeds to be transferred to Los Angeles, either via physical

smuggling or by making structured deposits and withdrawals in various “funnel”

bank accounts used by the co-conspirators.

      Between 2008 and 2015, Roque had multiple different drug suppliers who

supplied him with the cocaine and heroin that he shipped to Chicago. Roque also had

multiple drug customers in and around Chicago, including Lamont Jackson and

Martell Jackson, knowns as “Pimp” and “Little Pimp,” respectively. Roque and his

crew members maintained several different stash houses in Chicago, including a

house on Mozart St., an apartment at the “River City” complex at 800 S. Wells, a

house near the corner of Archer Avenue and Pulaski Road in Chicago, and a house in

Streamwood, Illinois. The stash houses were used to store the narcotics received on

Amtrak Express as well as drug proceeds received from customers.




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      In or around 2012 or 2013, Aragon-Contreras developed his own narcotics

supplier and he broke away from Roque to form his own drug distribution crew.

Aragon-Contreras began regularly supplying Donald Williams with cocaine and

heroin sent from Los Angeles to Chicago via FedEx shipments. Aragon-Contreras and

his crew overlapped with Roque’s crew in several ways. For example, Roque

occasionally supplied Aragon-Contreras’s crew with narcotics, and the two crews

frequently used the same stash houses in Chicago and the same “funnel” bank

accounts to launder drug proceeds. Further, Roque started supplying Donald

Williams with narcotics in or around 2015 after Aragon-Contreras’s crew suffered a

series of law enforcement seizures of drug-laden FedEx packages.

      With respect to Mireles specifically, the government anticipates that Roque’s

testimony will include the following:

         •   Roque and Mireles grew up in the same neighborhood in the Los Angeles
             area and attended the same high school. Several years after high school,
             they began regularly hanging out. Roque called Mireles “Cho.”

         •   In or around late 2013 or early 2014, Mireles joined Roque’s drug
             trafficking conspiracy. Specifically, Mireles agreed to begin regularly
             traveling to Chicago to receive narcotics-laden packages shipped via
             Amtrak Express, to distribute the narcotics to customers in and around
             Chicago, to collect drug proceeds from the customers, and to launder the
             drug proceeds through funnel bank accounts, including accounts that
             Mireles opened in his own name at Roque’s instruction.

         •   Roque originally told Mireles that the narcotics-laden packages shipped
             to Chicago contained only marijuana. Roque did this so as not to alarm
             Mireles. However, Mireles soon learned that the packages contained
             cocaine and heroin. On at least two occasions, Roque observed Mireles
             physically handling kilogram quantities of cocaine in Chicago. On
             several other occasions, Roque and other co-conspirators discussed in
             Mireles’s presence the fact that they were trafficking cocaine and heroin.




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        •   On several occasions when Roque was in Los Angeles and Mireles was
            in Chicago, Roque spoke to Mireles by telephone and directed him to
            pick up incoming narcotics-laden packages at Amtrak. Roque also had
            several telephone conversations with Mireles in which Mireles
            confirmed that he had received the packages and brought them to one of
            the Chicago stash houses. During several of those conversations, Mireles
            confirmed with Roque the number of kilograms of narcotics contained
            inside the package. In some of these same or other conversations, Roque
            directed Mireles to distribute specific quantities of the narcotics to
            specific customers in the Chicago area. Mireles would later call Roque
            to confirm that he had delivered or was in the process of delivering the
            narcotics. Roque paid Mireles and other couriers approximately $200-
            $400 per kilogram of narcotics that they delivered to drug customers.

        •   In or around late 2014, law enforcement seized approximately $1.2
            million in drug proceeds that Roque and Manuel Aragon Contreras were
            shipping from Chicago to Los Angeles in a semi-truck. The driver of the
            truck was called “Batecas.” In or around late 2014, Roque, Mireles, and
            Batecas traveled to Mexicali to meet with Roque’s drug supplier, to
            whom most of the seized $1.2 million was owed. During the meeting,
            Roque’s supplier’s men pointed guns at Roque, Mireles, and Batecas and
            demanded an explanation for the seizure. In Mireles’s presence, Roque
            described certain events leading up to the seizure, including the loss of
            20 kilograms of heroin. In Roque and Mireles’s presence, Roque’s
            supplier’s men started beating Batecas and threatened to kill him.
            Ultimately, Roque and Mireles were released but Batecas was held for
            a $350,000 ransom. Roque intentionally brought Mireles down to Mexico
            to witness this event so Mireles would understand the consequences of
            “messing up” in the drug business.

        •   At the beginning of Mireles’s involvement in the conspiracy, Roque
            directed Mireles to open two “funnel” bank accounts in his name to use
            for purposes of laundering drug proceeds. Roque instructed Mireles that
            all deposits and withdrawals into the accounts had to be kept under
            $10,000 for purposes of avoiding scrutiny by law enforcement. When
            Mireles traveled to Chicago for purposes of the drug conspiracy, Roque
            regularly directed Mireles and other crew members to receive large
            quantities of drug proceeds and break them up into multiple separate
            deposits of under $10,000 into funnel bank accounts, including the
            accounts in Mireles’s name. On several occasions when Mireles was in
            Los Angeles, Roque directed Mireles to make structured withdrawals of
            narcotics proceeds from Mireles’s funnel bank accounts and deliver the
            cash proceeds to Roque, Aragon-Contreras, or others, and Mireles did
            so. Roque paid Mireles $100-$200 for each structured deposit he made.



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        •   The co-conspirators regularly communicated with one another via
            telephone and Instagram. Roque used Instagram account “eggy_ng”.
            Mireles used Instagram account “oohkillem420k”.

        •   During Mireles’s involvement in the conspiracy, Roque asked Mireles to
            try to purchase a Glock 19 Generation 4 firearm for Roque to send to his
            drug suppliers in Mexico. Mireles had a contact who sold firearms.
            Mireles tried to obtain the Glock 19 for Roque but was unsuccessful.

        •   On several occasions in or around the spring or summer of 2015, Roque
            directed Mireles to deliver cocaine to, and collect narcotics proceeds
            from, Donald Williams and Donald Williams’s workers in Chicago. At
            that time, Aragon-Contreras’s crew was unable to supply Williams
            because they had recently suffered a series of seizures by law
            enforcement.

        •   In or around June 2015, Roque directed Mireles to travel to Chicago to
            meet with Roque and Ivan Diaz to conduct activity related to the drug
            conspiracy. Shortly before Mireles’s arrival, Ivan Diaz received an
            incoming cocaine shipment on Amtrak Express and took it to a new
            stash house in Streamwood, Illinois. The morning after Mireles arrived,
            Roque, in Mireles’s presence, instructed Ivan Diaz to deliver 40
            kilograms of cocaine (which were at the Streamwood stash house) to
            drug customers in Mendota, Illinois. Diaz made the delivery while
            Roque and Mireles remained at the stash house. When Diaz returned,
            Roque, in Mireles’s presence, paid Diaz $16,000 for making the delivery.
            Later the same day, Roque, Diaz, Mireles decided to go buy new burner
            phones to use in furtherance of the conspiracy. Before they left, Diaz and
            Mireles hid 10 kilograms of cocaine inside air vents in the floor in one of
            the stash house’s bedrooms. They also hid a large quantity of cash
            narcotics proceeds inside the stash house. While Roque, Mireles, and
            Diaz were on their way to purchase phones, they were stopped by law
            enforcement and briefly detained. While detained, law enforcement told
            Roque that they had searched the Streamwood stash house and
            recovered a large quantity of cash. Roque was surprised that law
            enforcement did not mention the 10 kilograms of cocaine and suspected
            they had missed it.

        •   Shortly after Roque, Mireles, and Diaz were released from custody, they
            got a hotel room together. Roque, Mireles, and Diaz then discussed how
            they were going to return to the stash house to check on the 10 kilograms
            of cocaine (they suspected law enforcement was laying a trap for them).
            Roque called multiple people in Los Angeles to see if they would fly to



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             Chicago and go to the Streamwood stash house to see if the 10 kilograms
             were still there. Steven Mendoza agreed to do so. When Mendoza arrived
             in Chicago, Roque, Mireles, Diaz, and Mendoza drove to the Streamwood
             stash house. Roque explained to Mendoza (in Mireles and Diaz’s
             presence) where to find the drugs in the stash house. Mendoza then went
             inside while Roque, Mireles, and Diaz waited outside. Minutes later,
             Mendoza returned and confirmed the 10 kilograms of cocaine were still
             in the air vents in the bedroom floor, where Mireles and Diaz had hidden
             them. Roque, Mireles, Diaz, and Mendoza decided to return to the stash
             house in the middle of the night to retrieve the cocaine.

         •   At approximately 3 a.m. the next night, Roque, Mireles, Diaz, and
             Mendoza returned to the Streamwood stash house (Roque, Mireles, and
             Diaz drove in one car, and Mendoza drove in another). Mendoza went
             inside the house and retried the cocaine. Roque had previously contacted
             Aragon-Contreras to see if he had a customer who could buy the 10
             kilograms so Roque could get rid of them quickly, and Aragon Contreras
             arranged for Donald Williams to purchase the cocaine. After Mendoza
             retried the cocaine, Roque, Mireles, Diaz, and Mendoza delivered the
             drugs to female workers of Donald Williams.

         •   The Streamwood incident was the last time that Mireles was involved
             in drug dealing with Roque. Shortly after the Streamwood incident,
             Roque went to Mexico until things cooled off with law enforcement.
             Roque tried to convince Mireles to come to Mexico and wait things out
             with him but Mireles refused.

                   b.     Donald Williams

      Donald Williams was prosecuted in case number 15 CR 504. The government

anticipates that Williams will testify that he met and worked with a group of

individuals based in the Los Angeles area who regularly shipped large quantities of

cocaine and heroin to Chicago, received and distributed the drugs in the Chicago area,

and laundered the proceeds of their drug sales from Chicago back to Los Angeles.

According to Williams, these individuals included (among others) José Mireles (whom

Williams only knew as “Choi”), Edgar Roque (whom Williams knew as “Jesse,” “E,”

and “Eggy”), Richard Roque (whom Williams knew as “Traps”), Jorge Ochoa-Canela



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(whom Williams knew as “G”), Jesus Valencia (whom Williams only knew as “K” and

knew was Julio Andrade’s cousin, which is true), Omar Ramirez (whom Williams only

knew as “Cecil”), Phillip Diaz (whom Williams also knew as “PH” and knew was

Edgar’s brother-in-law, which is true), Gerardo Sanchez (whom Williams knew only

as “Morrow”), and Ivan Diaz (whom he knew only as “Tec”). Williams also identified

a photo of Angelica Cervantes as someone involved in this scheme who was Valencia’s

cousin (which is true). And Williams identified a photo of Martell Jackson, whom

Williams knew as “Little Pimp.” Based on his interactions with Edgar and his

workers, Williams learned that Richard and others invested in the drugs that Edgar’s

crew shipped to Chicago and helped manage the lower-level workers in the crew. The

workers included José Mireles, Omar Ramirez, Gerardo Sanchez, Phillip Diaz, and

Ivan Diaz.

      According to Williams, he was a drug dealer in Chicago and that after getting

out of prison, he met Manuel Contreras at a party in Los Angeles. They exchanged

phone numbers and for the next few months, got to know each other socially. In 2012

or early 2013, Williams brokered several drug deals between Contreras and

individuals in Chicago, Champagne, and St. Louis. During that time, Contreras and

his associates maintained a stash house on Mozart Avenue in Chicago; Williams

identified a photo of the Mozart stash house as the location used by Contreras as a

stash house. Contreras told Williams that “all narcotics at the Mozart house belonged

to Jesse [meaning Edgar], and all the workers at the Mozart house worked under

[Edgar].” Williams regularly picked up drugs from Contreras at the Mozart stash




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house, but when Contreras was not in town, Williams was supplied by Phillip Diaz,

Omar Ramirez, Gerardo Sanchez, and Julio Andrade.

      In the fall of 2013, Williams asked Contreras if he could start buying cocaine

from Contreras directly rather than just brokering sales. Contreras told Williams

that Williams needed to talk to Edgar to set this up. According to Williams, shortly

after that conversation, Contreras told Williams to meet Edgar at the parking lot of

a Mexican restaurant near 55th Street and Pulaski Road in Chicago. Williams met

with Edgar in Edgar’s car outside the restaurant. During that meeting, Williams told

Edgar that he wanted to purchase a half kilogram of cocaine from Edgar. Edgar

responded that he only dealt in kilogram quantities and above, so (according to

Williams) the deal did not go through.

      About a month later, Contreras invited Williams to go gambling with him at

the Horseshoe Casino in Indiana. Williams brought along a friend to the casino who

spoke Spanish. Williams met Contreras at the casino bar where Williams found him

sitting and drinking with Edgar. During the conversation, Contreras told Williams

that Edgar was Contreras’s drug supplier. Contreras also told Williams that Edgar

was “the man,” which Williams understood to mean that Edgar moved large

quantities of drugs. Also during the meeting, Williams observed Edgar and Contreras

frequently speak to each other in Spanish. Edgar told Contreras that Contreras could

start providing Williams with cocaine on credit but needed to warn Williams not to

steal the cocaine. According to Williams, Contreras told Edgar that he did not yet

trust Williams enough to provide Williams with cocaine on credit.




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      According to Williams, sometime around February 2014, Edgar, Contreras,

and several of their crewmembers were back in Chicago. During this trip, Contreras

told Williams that Edgar was staying at the Trump Hotel and had 15 to 20 kilograms

of cocaine stored in his hotel room that he wanted to sell. According to Williams,

Williams offered to sell five kilograms of the cocaine to a drug customer of Williams’s

in St. Louis. On the day of the planned sale, Williams met Contreras in the lobby of

the Trump hotel in Chicago. Shortly after Williams arrived, Contreras came down to

the lobby carrying a backpack. An individual whom Williams identified only as

“Guado” accompanied Contreras. Williams testified that he, Contreras, and Guado

then drove to Darien, Illinois, where they met with Williams’s customer. The

customer paid cash for the five kilograms.

      Contreras told Williams about Edgar’s drug customers in Chicago. According

to Williams, Contreras told Williams that Edgar’s biggest customers in Chicago were

two guys called “Pimp” and “Little Pimp.” Contreras also told Williams that Pimp and

Little Pimp were father and son, respectively. Williams testified that he never met

Pimp or Little Pimp in person but that Contreras told Williams that they were black

men. Contreras also told Williams that Pimp went to prison in or around 2010 and

that Little Pimp took over the business.

      According to Williams, sometime in early 2014, Contreras told Williams that

someone had broken into the Mozart stash house and that five kilograms of cocaine

had been stolen. Williams suggested to Contreras that he and his drug partners rent

an apartment in downtown Chicago because a downtown location would be more




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secure than the Mozart house, and because they then could have a regular place to

stay when they traveled to Chicago. Soon after, the conspirators rented an apartment

at 800 S. Wells Street in Chicago (the River City apartment complex).

      Williams regularly was at the River City apartment between early 2014 and

early 2015. During that time, Williams regularly picked up drugs from the apartment

and dropped off drug proceeds at the apartment. Williams regularly saw Edgar’s

workers, including Omar Ramirez, Phillip Diaz, Gerardo Sanchez, and José Mireles,

go to the 800 S. Wells apartment from Union Station with boxes full of drugs that

had been shipped to Chicago on Amtrak trains. On at least five different occasions,

Williams observed Edgar’s workers, including Omar Ramirez, Phillip Diaz, Jesus

Valencia, and José Mireles, open these boxes in front of Williams. Williams saw that

they were packed with multiple kilograms of drugs. He observed that each shipment

typically contained up to ten kilograms of cocaine, but sometimes the shipment

contained a combination of cocaine and heroin. Williams recalled having seen this

most frequently during the summer of 2014.

      According to Williams, in May 2015, he received five kilos of cocaine from

Edgar in a pair of deliveries brokered by Contreras. Williams determined that the

cocaine came from Edgar because Contreras told Williams that the cocaine was from

Edgar and because Williams observed Mireles, Phillip Diaz, and Ivan Diaz deliver

the drugs and pick up the money for the drugs. Williams explained that these three

individuals were not involved when Williams purchased drugs from Contreras.

According to Williams, Phillip Diaz and Ivan Diaz delivered the first two kilograms




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to Williams in the area of 87th Street and the Dan Ryan Expressway. About a week

later, Williams met with Mireles and Ivan Diaz at a parking garage in Chicago and

gave them about $65,000 in cash for the first two kilograms. At this meeting with

Mireles and Ivan Diaz, Mireles gave Williams three more kilograms of cocaine. In

June 2015, Williams met with Mireles and possibly also Phillip Diaz at a Hooter’s

restaurant parking lot in downtown Chicago and gave them about $70,000 or $80,000

for the three kilograms that Williams received at the second meeting.

      After that third meeting, Williams still owed Edgar about $20,000 to $25,000

for the three kilograms Williams received in May 2015. According to Williams, in late

June and early July 2015, Contreras contacted Williams on several occasions to

collect the debt that Williams owed Edgar. Contreras sent Williams several messages

telling Williams that Julio Andrade was in town and that Williams should meet with

him at Navy Pier to give him the remaining money. Williams stopped responding to

Contreras’s communications and did not meet with Julio Andrade because Williams

did not have the money. Williams was arrested on his case shortly thereafter.

             2.    Amtrak Records

      The conspiracy used Amtrak Express as the primary method of transporting

the conspirators’ cocaine and heroin from Los Angeles to Chicago and elsewhere.

Exhibit A attached to this motion consists of a summary chart of Amtrak records

showing the transportation by Amtrak of each of these packages and the members of

the conspiracy who participated in obtaining each package from Amtrak’s facilities

at Union Station in Chicago. These records corroborate the anticipated testimony of

Valencia and Williams that the conspiracy shipped narcotics packages via Amtrak


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and that conspirators in Chicago routinely went to Amtrak in Chicago to pick up those

packages.

      The Amtrak records also corroborate witness testimony about who participated

in the conspiracy. The records are a who’s who of coconspirators: the records show

that between 2010 and 2015, Edgar Roque, Jesus Valencia, Donald Williams, Phillip

Diaz, Ivan Diaz, Omar Ramirez, Steven Mendoza, Gerardo Sanchez, Angelica

Cervantes, Juan Cervantes, Martell Jackson (through his sister, Monique), Julio

Andrade, Manuel Aragon Contreras, José Davila, Anthony Hermosillo, and (of

course) Mireles all picked up narcotics packages at Amtrak, had those packages

delivered in their names, or both. The records also show that, sometimes, multiple

members of the conspiracy went to retrieve packages together. That all these

individuals picked up or had delivered in their names all these packages containing

wholesale quantities of narcotics is no coincidence. Just as the government

anticipates the cooperating witnesses will testify, these were all knowing participants

in this drug-trafficking conspiracy.

             3.     Specific Crimes Committed in Furtherance
                    of the Conspiracy

      Additionally, the government intends to introduce evidence regarding a law

enforcement stop of Edgar Roque, ireless, and Ivan Diaz on June 23, 2015, in

Streamwood, Illinois. This evidence will provide additional independent bases to

conclude that the conspiracy as charged existed and that the statements made by the

coconspirators are admissible under Rule 801(d)(1)(E).




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      According to Southwest Airlines records, on June 22, 2015, José Mireles flew

Southwest Airlines Flight 3775, departing at 4:45 p.m. from Los Angeles and arriving

at 10:40 p.m. in Chicago. Southwest Airline records further show that Phillip Diaz

booked this flight for Mireles early in the morning on June 22. Law enforcement

officers conducting surveillance observed Mireles get off of Flight 3775 at Midway

Airport, get his luggage from the baggage claim area at the airport, and travel by taxi

to the vicinity of 33 Adams Court in Streamwood, Illinois.

      Prior to that trip, on or about June 2, 2015, in a separate investigation being

conducted by law enforcement officers in Riverside, California, Judge Becky L. Dugan

of the Superior Court of California, Riverside County, entered orders authorizing the

wiretap of the telephone assigned number (562) 443-2661 as well as the monitoring

of real-time GPS location information from that telephone. Based on the location

information from the phone as well as law enforcement surveillance, law enforcement

determined that Mireles was using and holding that telephone. Additionally, the

previous year, on November 6, 2014, law enforcement officers stopped and

interviewed Angelica Cervantes. During the interview, Angelica consented to a

search of her phone. Law enforcement officers searched Angelica’s contact list and

found the (562) 443-2661 phone number stored in Angelica’s phone listed under the

name “Choi” (the same name that Williams used for Mireles).

      The next day, law enforcement conducted surveillance at the Adams Court

residence, and at approximately 12:45 p.m., surveillance agents observed Ivan Diaz

drive a white Mercury sport utility vehicle plate number V415608 into the garage at




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the Adams Court residence. This was the same vehicle that agents had observed

Phillip Diaz drive to Amtrak twice on July 31, 2014. At approximately 1:20 p.m., the

vehicle exited the Adams Court residence garage and drove away from the area.

While on the road, the white Mercury was driven onto several dead end streets and

then reversed and on multiple occasions accelerated at high rates of speed. The

vehicle was driven by Ivan Diaz and law enforcement officers observed Mireles in the

front passenger seat and Edgar Roque in one of the rear passenger seats.

      Law enforcement stopped the vehicle. A short time later, Ivan Diaz gave

consent for officers to search the Adams Court residence. During the search, officers

found a Nicor Gas receipt identifying Phillip Diaz as the individual who was renting

the residence. Also during the search, in the living room, officers observed a wooden

television cabinet. Officers opened the cabinet and found approximately $96,000 in

cash. In one of the bedrooms in the residence, officers found two Amtrak Express

waybills bearing numbers CA0003531 and CA0006286 along with a black notebook

that appeared to contain ledgers handwritten onto its pages. In the laundry room

above an air conditioning duct, officers found a blue notebook that appeared to

contain additional handwritten ledgers. On the kitchen floor, officers found Amtrak

labeling stickers. In the garage, officers found approximately 25, stacked, cardboard

boxes with partially torn Amtrak labels affixed to them.

      Law enforcement officers also found and seized a number of phones from the

Streamwood residence, and on December 11, 2015, Magistrate Judge Jeffrey Cole

signed a warrant authorizing the search of those phones. The government believes




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and anticipates proving at trial that one of the phones, a black, silver, and grey ZTE

N800 cell phone assigned number (562) 449–6736, was used by Edgar Roque. 6 That

phone contained numerous text messages from June 22, 2016, with phone number

(562) 443–2661, Mireles’s cell phone. Exhibit B contains the relevant text exchange

between the two phones that day. During the conversation, Mireles wrote, “[M]y flight

leaves at 4:45 today. I woke up late but they were able to change it to later.” 7 Edgar

Roque responded, “It was 910. I need u outhere. . . .” Mireles replied, “I kno i got up

late.” Later in the conversation, Mireles had the following exchange with Edgar:

              Edgar:           Check right now how much u owl the bank

              Mireles:         100 Bucks

              Edgar:           U sure

              Edgar:           Who sales heats outhere

              Edgar:           ???

              Edgar:           I need a glock 19 generation 4

              Mireles:         Yeah i called it said i over drafted 60 plus what they
                               charge so like 100 bucks



       6       The texts were from June 22, 2015, and law enforcement only observed Edgar
Roque, Ivan Diaz, and Mireles at the residence. Law enforcement separately learned that
Steven Mendoza also used this residence and that the residence was rented by Phillip Diaz.
The government anticipates proving that of the five individuals associated in one way or
another with the residence, Edgar Roque was the one who used this phone. But, at the very
least, the government will prove that the phone was used by Edgar, Ivan Diaz, Phillip Diaz,
or Mendoza, meaning that Mireles had this text message conversation with one of the other
coconspirators.
       7      Southwest Airlines records show that Phillip Diaz originally booked Mireles to
be on Flight 1502 from Los Angeles to Midway Airport, which was scheduled to depart from
Los Angeles at 9:10 a.m. and arrive in Chicago at 3:05 p.m. Flight 3775—the flight Mireles
actually took—departed Los Angeles at 4:45 p.m.



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             Edgar:           Ok

             Mireles:         Bro is it cold so i can take a sweater

             Edgar:           Not really

             Edgar:           What up with the heat

             Mireles:         ku

             Mireles:         My boi dint pick up

             Edgar:           Call him again

             Mireles:         Ok

             Edgar:           What did he say

             Mireles:         Yo he said not right now

             Edgar:           Does not have

             Mireles:         He said there not getting any right now

These text messages provide unambiguous proof that Mireles was speaking with

Edgar (or one of the other coconspirators) about traveling to Chicago to assist the

conspiracy and about the purchase of a firearm. These texts provide strong evidence

of Mireles’s active participation in this conspiracy—he was not simply a bystander.

      Following the traffic stop of Mireles, Edgar Roque, and Ivan Diaz on June 23,

and while all were still on the street, law enforcement officers asked to speak with

each individual. Mireles identified himself as José Mireles. He also told the law

enforcement officers that the three individuals were on their way to a casino and had

just departed from a location in the city of Chicago. The agents told Mireles that they




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had, in fact, observed the vehicle leave from the Adams Court residence, at which

point Mireles became nervous and put his head down. 8

              4.     Coconspirator Statements Obtained via Execution of
                     Search Warrants and Title III Wiretaps

       In 2015 and 2016, law enforcement obtained warrants to search a number

Instagram accounts controlled and held by the coconspirators. This included a

warrant to search Mireles’s Instagram account, “oohkillem420k,” signed by

Magistrate Judge Cole on February 12, 2016 (warrant 16 M 90). On February 22,

2016, Chief Judge Rubén Castillo entered orders authorizing the Title III wiretap of

Instagram account “eggye_ng,” which was controlled by Edgar Roque. Between

February 2016 and the arrests of the coconspirators in late-October 2016, law

enforcement obtained numerous Title III orders to continue to intercept Instagram

communications over Instagram account eggye_ng as well as over Omar Ramirez’s

Instagram account, two phones used by Edgar Roque, and eight different BlackBerry

Messenger devices. The following posts and communications provide additional

evidence of the existence of the charged conspiracy:

                     a.     Communications with Steven Mendoza on
                            October 7, 2015

       On October 7, 2015, Edgar and Steven Mendoza discussed a trip that Mendoza

took to New York. Specifically:



       8       To the extent that Mireles might attempt to argue that this statement to law
enforcement is an uncharged act inadmissible under Rule 404(b), Mireles would be mistaken.
Mireles lied to the police for the purpose of concealing the true reason why he was with Edgar
Roque and Ivan Diaz—they were conducting acts in furtherance of their narcotics operation—
and the lies show Mireles knowledge and participation in the conspiracy.



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            Edgar: How much were the expenses when you were up there 🗽🗽🗽🗽🗽🗽
                         [emojis of the Statue of Liberty, a symbol for New
                         York]?

            Edgar: Took

            Edgar: Yooo

            Mendoza: OK[.] Driving[,] I’ll send it in a few

            Edgar: Aight

            Edgar: Yooo

Mendoza sent this image:




The image appears to be of a ledger showing money received and expenses paid. After

Mendoza sent this ledger, the conversation continued:

            Mendoza: Sent

            Edgar: Arree

            Edgar: they raised in cln [Culiacán, Mexico]

            Mendoza: Nah

            Edgar: How did u end up with 58



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            Edgar: Truth

            Mendoza: They made it disappear or what

            Edgar: Nahh they just kick him out of cln [Culiacán]

            Edgar: my boys tied it and put it in “cachasos”

            Mendoza: They were 60 from one [,] and we took 2k out for him. So it
                          was 58k plus what “Negro” gave were 22600

            Mendoza: So adding that up are 80600

            Mendoza: And that’s what was given

            Edgar: Ok

            Edgar: Cool

This conversation is evidence that Edgar Roque directed Mendoza to travel to the

New York City area and collect approximately $80,600.

                   b.     Communications on December 13, 2015

      On December 13, 2015, Mireles, Edgar Roque, Richard Roque, Ramiro Roque,

Phillip Diaz, Steven Mendoza, Jorge Luis Ochoa-Canela, and José Octavio Flores had

the following group chat on Instagram Direct:

            Edgar:          Wash it

            Mireles:        Nahh dagg




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             Mendoza:




             Mendoza:         A rain of bullets for all the snitches

                   c.       Communications on March 2, 2016

      On March 2, 2016, Edgar had a group chat over Instagram with Mireles,

Richard Roque, Ochoa-Canela, and others. During the conversation, Ochoa-Canela

sent the following photo:




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The following communications were then sent:

             Edgar:          U got a glock??

             Ochoa-Canela: Yup and it’s a 45

             Ochoa-Canela: Just need a driver cuz for real I don’t fit

This conversation is evidence of the relationship between Edgar, Richard, Ochoa-

Canela, and Mireles. The government anticipates that its drug-trafficking expert will

testify guns are used to protect drug dealers, their drugs, and their money.

                   d.     Communications on March 16, 2016, between Edgar
                          and Richard Roque

      On March 16, 2016, Edgar had an Instagram Direct chat with Richard Roque,

Mireles, Phillip Diaz, Ochoa-Canela, Ramiro Roque, and others. During the

conversation, the following communications were sent:

             Richard:        Cebo Ajax is off?

             Richard:        Smh [Se me hace.] [I believe.]

             Ramiro:         LIKE

             Edgar:          Maybe

             Richard:        What you mean maybe you took the ones they where in
                             their

             Ochoa-Canela: I’m here

             Edgar:          I took like 2 points

             Edgar:          Why what they told u

             Edgar:          I weighed it, it was 28.2.

             Richard:        You took the two bags

             Edgar:          There was only 1

             Richard:        There were 3


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              Edgar:             I only took 1.

              Richard:           You took 2 I believe

              Edgar:             No for real

              Edgar:             Wtf

              Edgar:             Call me

The government anticipates that its drug-trafficking expert will testify that narcotics

often are sold in ounce quantities, among other quantities, and one ounce equals

about 28.3 grams.

                      e.     Conversations with Calvin Avendano in April and
                             May 2016, and Edgar’s Trip to Meet Avendano in
                             Culiacán, Mexico

       On April 25, 2016 (TP2 Sessions 27, 28, 29, 30, 32, 33, 34, 36, and 38), Edgar

Roque, who was using telephone number (310) 346–6102 (“Target Phone 2”), had text

message communications with Calvin Avendano. In these communications, the

following was written:

              Avendano:          Hey, my boy, did they get rid of the t-shirts 9

              Edgar:             I’m going to go for that after my daughter’s game. I’ll
                                 Text you when I have it, so that you can pass me a
                                 number

              Avendano:          Ok foshow hey dude just with the truck that’s the low

              Edgar:             Talking to him but what he is saying he’s good for the
                                 long runs




       9        The government anticipates that its drug-trafficking expert witness will testify
that “t-shirts” is a common term used by narcotics traffickers to refer to quantities of cocaine.



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              Avendano:         Was up i my puto 20 in mjs city n lebrons city[.] 10 How
                                much would you pay for it over there dude?

              Edgar:            What do you mean? Which buddy? lol if you arrive there
                                with them

              Edgar:            I have to call or talk arrive there with the bulls I can
                                move around easily over there

              Avendano:         Yes there with the bulls

              Edgar:            I have to call

       On or about April 27, 2016 (TP2 Sessions 196, 199, 200, 202, 255, 259, 260,

261, 262, 263, 264, 266, and 267), Edgar, who was using Target Phone 2, had

additional text message communications with Avendano. In these communications,

the following was written:

              Avendano:         What’s up, my boy? What’s good? Monday already
                                passed and nothing dude.

              Avendano:         Hey dude do me a favor answer dude. It’s already been
                                2 weeks and nothing. These people

              Avendano:         . . . . are hot now we went too far now for real dude 2
                                fucking bricks for two fucking weeks is a lot we’ve gone
                                too far for real 11

              Edgar:            Yea I know my boii my bad tell your cousin to drop by
                                at 3 so I can give him that over there at work

Later on or about April 27, 2016, Edgar Roque’s text message communications with

Avendano continued:


       10     The government plans to introduce evidence to show that “MJ,” or Michel
Jordan, played basketball for the Chicago Bulls, while in 2016, “lebron” played basketball for
the Cleveland Cavaliers.
       11      The government anticipates that its drug-trafficking expert witness will testify
that a “brick” is a common term used by narcotics traffickers to refer to kilogram quantities
of narcotics.



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              Avendano:         Hey my boy how much did you give my cousin

              Edgar:            It’s 21500 he agreed to bring me the rest if he doesn’t
                                give me the rest later on I’ll give you one of those in
                                addition to the remainder

              Edgar:            And he can just pay me

              Avendano:         Yeah dude the problem is these guys want the paper or
                                what we gave you 12

              Edgar:            Yea I got u don’t trip.

              Edgar:            As soon as I do this for you so I can go talk to you

              Avendano:         Ok foshow

              Avendano:         Yea men we need to talk got good projects i know we
                                could do something

              Edgar:            Yea I know if I had known about this guy I wouldn’t
                                have done anything

       On May 2, 2016, at approximately 7:38 p.m. (TP2 Session 837), Edgar Roque,

who was using Target Phone 2, had a telephone conversation with Avendano. During

the conversation, Edgar and Avendano said the following:

              Edgar:            What’s cracking?

              Avendano:         Nothing. Just lying around here. They are on my ass
                                over here for that money.

              Edgar:            I know. I know. I was trying to text my boy to see when
                                his are going to arrive so that he can lend me one so that
                                I could pay it back.

              Avendano:         Right on. Right on. Cool ‘cause I . . . .

              Edgar:            What’s up dude, what is there?




       12      The government anticipates that its drug-trafficking expert witness will testify
that “paper” is a common term used by narcotics traffickers to refer to money.



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            Avendano:       I don’t know what the fuck. . . . That dick is just feeding
                            me fucking lies. Are you slow or what’s up? Or are you
                            at a standstill?

            Edgar:          No. Well I’m trying to clear you out. That’s what I’m
                            trying to do. If not, then I’ll give you my Jeep. I’m not
                            going to end on a bad note because of another dude.

            Avendano:       No, none of that. The point of this is to work.

            Edgar:          Yeah. Yeah. You understand me? I was just trying to
                            clear you out, you know? How can I ask you for
                            something? You’re going to say, “You haven’t paid me
                            the other one, and you’re asking for more!” Am I wrong?

            Avendano:       Yes. Well, that’s what the brothers were telling me,
                            “What’s up with that dude? Why doesn’t he come by over
                            here?” And [unintelligible] now. Do you understand me?

            Edgar:          Yeah.

Also during this telephone call, Edgar and Avendano said the following:

            Avendano:       [Unintelligible] it’s very strange that this dude is slow
                            or [unintelligible] is at a standstill.

            Edgar:          No, I haven’t done shit. I’m just trying to clear you out
                            before I could even ask for something.

            Avendano:       Yeah. Because this dude [unintelligible] I said that for
                            this [unintelligible] but he is going to drive the 24 flat,
                            dude. [unintelligible] there.

            Edgar:          Uh huh. And what’s up with that up there? For Chi?

            Avendano:       Well, I have some there . . . .

            Edgar:          I’m ready. Honestly, over there has always been my
                            shit. Here, it’s only when something comes up but over
                            there . . . .




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             Avendano:      Either way, the truck is ready already. I have it ready,
                            but what happened is that since I had it at a standstill,
                            the driver became impatient, and now I’m struggling to
                            look for [unintelligible] dude. But that shit is ready,
                            dude. On top of that, I have one that’s heading out
                            tomorrow, dude. I’ll see how I do it, [unintelligible]. But
                            God willing, we will be there with Michael Jordan and
                            all of those places.

             Edgar:         Shit, if you were to tell me I would jump on the road
                            right now.

             Avendano:      Yeah. Does “Machin” come out over there dude?

             Edgar:         Yeah. That’s where I always, I only worked over there
                            dude. You understand? Do you remember when I saw
                            you guys over there where you are from in Mex, that’s
                            why I had gone over there but everybody’s calling me.
                            It’s a whole different story from here, you know. Like
                            the profit and everything. It’s better for me over there,
                            too.

A short time later during this same telephone call, Edgar and Avendano said the

following:

             Avendano:      That’s how it is. I was going to ask, do you still want to
                            that shit in Ohio with your buddy?

             Edgar:         Yeah, he’s still waiting. It’s just that I don’t know what’s
                            up with you. You didn’t say anything to me so I thought
                            you must have gotten worried about that. I told him too,
                            ‘This fucking ‘Lentes [glasses]’ is the name of my cousin,
                            dude. This fucking cousin has me in debt over here.

             Avendano:      I have six of those at hand over there, dude. But I would
                            like them to try them out before they take them.

             Edgar:         Uh huh. That shit is easy. I could just tell this guy to
                            come here. If you want, tomorrow he could bring a
                            sample of each one because we are going to close
                            already.

             Avendano:      Right on.

Also during this telephone call, Edgar and Avendano said the following:


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            Edgar:          That one is good. He’s good, too. Since he told me too,
                            you understand? Or come here to TJ so that I can gossip
                            with you.

            Avendano:       Fuck, that’s tough. Come over here, or if not, then to
                            Perla, dude.

            Edgar:          When are you going to go over there? It’s ‘cause I
                            wouldn’t want to [unintelligible].

            Avendano:       [Unintelligible] one of my sons wants me to go with him
                            already. But honestly, [unintelligible] happy in my
                            land, son.

            Edgar:          Of course. Of course. The thing is that you’re in
                            [unintelligible].

            Avendano:       There you go. The [unintelligible] first.

            Edgar:          It’s fine.

            Avendano:       But God willing, I will go over there in a couple of days
                            and if you want you can head over there, and we will
                            have a good talk.

The telephone call continued between Edgar Roque and Avendano:

            Edgar:          What can you do there with my buddy? If you want, I
                            can go and sit down with you so that you can see that
                            there’s no problem with that shit, dude.

            Avendano:       No, I know that there isn’t a problem. I already know.
                            You know what I mean? I’ll sit there with you so we can
                            do something, too.

            Edgar:          I’m not doing shit, straight up. Honestly, I’m not doing
                            good and [unintelligible] ask me the 10 right now, but I
                            need to know for sure that they got the motherfucking
                            money. You know what I mean? If my own cousin is
                            fucking me over, imagine what someone else. And I
                            don’t feel it, like fuck it. On other occasions, well you
                            have to respond to be like, “Fuck this. I’ll send
                            someone.”

            Avendano:       That’s true . . . .




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             Edgar:         But right now, winning 300 bucks, I don’t want to fuck
                            up. That’s why I’m saying, I know what’s up in Chicago.
                            We running this show because it’s like you to me right
                            now. I’m a first hander. So it’s not a problem sending to
                            nobody.

             Avendano:      That’s how it is . . . .

A short time later during this same telephone call, Edgar and Avendano said the

following:

             Edgar:         If you were to tell me about over there, I’ll leave tonight.
                            Straight up.

             Avendano:      Well, it will happen. It will happen. It’s just that we are
                            waiting for that fucking driver right now. Just in case,
                            I have a “ventilator” [twenty] to send it over there.

             Edgar:         And that shit can get there in a weekend. Once it gets
                            there . . . . I just need to talk to you so that I can go over
                            there and open up an office and that’s it. Because I don’t
                            have a house or anything over there anymore, but all
                            the homies are over there.

             Avendano:      No, we’ll open it.

             Edgar:         It’s like me coming to LA, and I already know where to
                            go. Like, “Hey, let me borrow a car for a week or so.”
                            Meanwhile I buy a car or help me look for a house, and
                            it can be done right away.

             Avendano:      Right on. Yeah, well if you want that for your buddy as
                            well, if you have faith in him then let me know and we’ll
                            get it running.

             Edgar:         Well, that’s a yes. That’s why I was saying you and him.
                            I wish I could [unintelligible] I want to go on one. You
                            know what I mean?

             Avendano:      Right on!

The telephone call continued between Edgar Roque and Avendano:




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            Edgar:          But I don’t want to be on a bad note with you dude.
                            That’s why I’m telling you, if you want, we could do . . .
                            . I’ll call him right now and I’ll sit down with him and
                            talk to him and see what we could do. And like I said,
                            I’ll go there and sit there with you so that I could make
                            something, too.

            Avendano:       Nah, don’t trip. Either way, we’ll do it. That’s the least
                            worry. If you want, do you want me to send you that so
                            that you could take that photo of the girl so that
                            [unintelligible] to see if it’s good?

            Edgar:          If they’re all the same, just tell him to come early
                            tomorrow. Because I’m coming to the shop early because
                            my dad isn’t here. He’s in Mex and they have me
                            working very hard here.

            Avendano:       Right on, right on.

            Edgar:          I’m right here and they’re telling me, “Hey, this . . . .”
                            And I’m just like, “Fuck, man! . . .” It’s been a while, you
                            know I haven’t been kicking it right here, but fuck it, I
                            need to do what I need to do.

            Avendano:       If you want we’ll do it, dude. I’ll hit you up tomorrow to
                            give you that.

            Edgar:          OK. So I’ll talk to my buddy right now and see what he
                            tells me.

            Avendano:       Sounds good then.

            Edgar:          All right.

      Later on May 2, 2016, at approximately 8:17 p.m. (TP2 Session 840), Edgar

Roque, who was using Target Phone 2, had another telephone conversation with

Avendano. During the conversation, Edgar and Avendano said the following:

            Avendano:       Hey dude, my girl is asking when you can come over
                            here so that you can have a good talk here before we do
                            all of that.

            Edgar:          I don’t know. You tell me.



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           Avendano:       Just one day . . . .

           Edgar:          I’ll tell my brother . . . . Let me talk to my brother and
                           see if he can stay here at the shop since my dad’s not
                           here.

           Avendano:       Right on.

           Edgar:          I’ll just go over there, any day. Fuck it. [unintelligible]
                           whatever you guys want to ask and I could make it
                           happen.

           Avendano:       Look, it’s because we just want you to come talk here
                           with us so that we could tell the boss about how all the
                           steps will be taken. Do you understand me?

           Edgar:          Yeah, ‘cause I could tell you that I already know. It’s not
                           like it’s the first time I go there. Do you understand
                           me? . . . I could let you guys know what really . . . . How
                           to help you guys out, too. You know what I mean?

           Avendano:       Right on, right on.

           Edgar:          Because there’s a lot of places where one . . . . Like if you
                           have never gone over there, you might say, “Right there,
                           it seems cool dog.” But sometimes it’s not cool. Because
                           that city is very active. Very active. It’s full of “feos”
                           [ugly men], dude.

           Avendano:       Right. Right. That’s why I’m asking you when can you
                           come over here just for a day and then you can hurry
                           back, just so that we can be good.

           Edgar:          All right. What’s today? How does Wednesday sound?

           Avendano:       Right on, right on. Just tell me when and I’ll go pick you
                           up.

           Edgar:          All right well to be safe, Wednesday. I’m just going to go
                           and tell my brother to stay here Wednesday and I’ll stay
                           over there with you all one or two days.

           Avendano:       Right on. So when?

           Edgar:          If you need me there the whole week, I’ll stay there the
                           whole week.



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            Avendano:       The point is to work, and that you come and talk, and
                            to go back.

            Edgar:          [Unintelligible] that’s what I’m talking about. I’m down
                            with that.

            Avendano:       Yeah? But we got the thing ready, my nigga. It’s just a
                            matter of you giving us a hand there, dude.

            Edgar:          All right. ‘Cause yeah there’s no problem in getting over
                            there and open an office. That’s no problem, but
                            honestly, I do want to talk with you guys, too.

            Avendano:       Right on. So when can you come by?

            Edgar:          I’m telling you Wednesday.

            Avendano:       Wednesday? All right. Sounds good then. I’ll pick you
                            up then. Don’t trip.

            Edgar:          All right.

            Avendano:       All right [unintelligible], be careful.

      On May 3, 2016, Edgar Roque, who was using his Instagram account, had

Instagram Direct communications with Mireles, Phillip Diaz, Ochoa-Canela, Richard




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Roque, and others. At approximately 12:12 a.m., ROQUE sent the following

photograph:




On May 8, 2016 (TP2 Session 1588), Edgar Roque, who was using Target Phone 2,

sent a text message to Avendano. In the message, Edgar wrote, “[T]omorrow I am

going to go over there to you. I get there 10:05 pm.” Also on May 8, 2016, Edgar Roque,

who was using his Instagram account, had Instagram Direct communications with

Mireles, Phillip Diaz, Ochoa-Canela, Richard Roque, and others. During the

communications, Edgar wrote, “I need a ride tmrw what up[?]” On May 9, 2016, Edgar

Roque, who was using his Instagram account, had Instagram communications with

Mireles, Phillip Diaz, Ochoa-Canela, Richard Roque, Ramiro Roque, and others.

During the communications, the following was written:

              Edgar:          I need a ride to tj

              Edgar:          What up




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           Edgar:




           Ramiro:         Clean

           Edgar:          I need a ride

           Ramiro:         Let me tell my father-in-law

           Ramiro:         What time? 3?

           Ramiro:         U got ur passport???

           Richard:        I know a guy that could take you on a Benz for $200

           Ochoa-Canela: 160 in a Honda

           Ramiro:         Cool niggas

           Ramiro:         Take him tee 13




     13    “Tee” was a nickname for Ochoa-Canela.



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      In this exchange, one in which Mireles was sent all these communications,

Edgar explained that he needed a ride to Tijuana, Mexico, and that he had booked a

flight from Tijuana to Culiacán, Mexico, for later that same day. Mireles was not

“merely” present—he was not a bystander—when Edgar sent these communications.

Rather, Mireles was a trusted part of this conspiracy whom Edgar told the plans for

Edgar to meet in Mexico with the organization’s cartel-level supplier.

      Location data from Edgar Roque’s phone, Target Phone 2, showed that on

May 11, 2016, at approximately 6:45 p.m., Target Phone 2 was in the San Diego,

California, area, near the Mexico border. At approximately 11:35 p.m., Edgar posted

the following photograph on the main page of his Instagram account:




      On May 12, 2016, Edgar Roque, who was using his Instagram account, sent

the following photograph of the Culiacán, Mexico, airport to Mireles, Richard Roque,

Ramiro Roque, Phillip Diaz, and Ochoa-Canela:



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Additionally, border-crossing records show that on May 13, 2016, Edgar Roque

entered the United States from Mexico in a vehicle with California license plate

6RTV706 at a land bridge at San Ysidro, California.

      Altogether, the intercepted communications with Avendano over Target

Phone 2, the intercepted communications over Edgar’s Instagram account, location

data from Target Phone 2, and the photos that Edgar shared show that Edgar Roque

traveled to Culiacán, Mexico, in May 2016 to meet with Avendano and discuss the

shipment of narcotics by Avendano to Edgar and his coconspirators for delivery in

locations including the Chicago area.




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                  f.     Communications on July 15, 2016

      On July 15, 2016, Edgar had an Instagram Direct chat with Mireles, Richard

Roque, Ramiro Roque, Phillip Diaz, Ochoa-Canela, and José Octavio Flores. During

the conversation, the following communications were sent:

            Ochoa-Canela:




            Ochoa-Canela: 1k

            Ramiro:         For real

            Mireles:        I got 500

            Edgar:          I ain’t got nada

                  g.     Communications on August 7, 2016

      On August 7, 2016, Edgar had an Instagram Direct chat with Mireles, Richard

Roque, Ramiro Roque, Phillip Diaz, Ochoa-Canela, and Octavio Flores. During the

conversation, the following communications were sent:



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           Edgar:




           Ramiro:




           Ochoa-Canela: Wmo FF




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             Ramiro:




             5.    Border-Crossing Records

      The government anticipates introducing border-crossing records for various

coconspirators. Although the United States does not keep records of individuals

leaving the country, the records show the coconspirators entering at various borders

from Mexico. Among other entries, these records show the following:

      •      May 4, 2014: Richard Roque and José Mireles entered the United States
             in a vehicle with California license plate 8N06480 at a land bridge at
             Otay Mesa, California.

      •      October 23, 2014: Edgar Roque and José Mireles entered the United
             States in a vehicle with California license plate 6TFU217 at a land
             bridge at Calexico, California.

      •      May 13, 2016: Edgar Roque and another individual entered the United
             States in a vehicle with California license plate 6RTV706 at a land
             bridge at San Ysidro, California.

      As discussed above, Edgar Roque’s entry on May 13, 2016, was in connection

with his trip to meet with Avendano to discuss narcotics trafficking. More generally,

these frequent crossings among the various members of the conspiracy are indicative



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of meetings in Mexico to discuss drug trafficking, especially given that these

individuals all lived in the Los Angeles area, well over 100 miles from the points-of-

entry at San Ysidro and Otay Mesa, and over 200 miles from the Calexico point-of-

entry.

               6.     Bank Records

         Mireles had an account bearing number ending in 2095 at Bank of America.

Records from Bank of America show the following transactions, among others:

Date                Type          Bank Location                         Amount
12/26/2014          Withdrawal    California                            $7,944
02/20/2015          Deposit       52nd and Pulaski, Illinois            $1,300
03/11/2015          Deposit       Paramount, California                 $1,500
04/20/2015          Deposit       Poughkeepsie, New York                $3,950
04/21/2015          Withdrawal    California                            $3,650
04/23/2015          Deposit       South Yarmouth, Massachusetts         $6,000
04/28/2015          Deposit       Bronx, New York                       $3,000
04/29/2015          Withdrawal    California                            $4,600
04/30/015           Withdrawal    California                            $2,958
05/04/2015          Deposit       Manhattan, New York                   $9,000
05/06/2015          Withdrawal    California                            $8,700
05/13/2016          Deposit       Garfield Ridge, Illinois              $4,000
05/26/2015          Deposit       Ashland and Roosevelt, Illinois       $4,500
05/26/2015          Withdrawal    California                            $2,500
06/01/2015          Deposit       South Dennis, Massachusetts           $8,000
06/03/2015          Withdrawal    California                            $7,000

         These bank records further show that Mireles was not merely present among

his friends while they committed drug-trafficking crimes without him. The



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government anticipates that a bank representative will testify that, to make each of

the cash withdrawals identified in the table above, the accountholder had to present

photo identification to a teller at a bank branch. Given that Mireles was the only

signatory on this account, this all means that Mireles himself went to Bank of

America bank branches in California and withdrew all of this cash. The timing of

deposits around the country followed by quick withdrawals of nearly all of the

deposited funds in California by Mireles provide proof that the deposited money came

from ill-gotten gains and that Mireles used his bank account to funnel those gains

back to individuals in Los Angeles. In light of the other evidence the government

plans to introduce at trial, the clear inference that the jury will be able to draw is

that the illicit conduct that produced the proceeds was drug trafficking. The bank

records thus provide further proof of Mireles’s active participation in the charged

drug-trafficking conspiracy.

      D.     Coconspirator Statements

      The statements between the coconspirators in furtherance of the charged drug-

trafficking conspiracy fall into numerous categories, all concerning subjects integral

to the conspiracy. These statements—which will establish the information flow

between coconspirator intended to help each perform his role—will be introduced

through the testimony of cooperating sources, and through the presentation of the

government’s search warrant and wiretap evidence.




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       The coconspirator statements offered at trial will concern the subjects listed

below, and include, but are not limited to, the coconspirator statement discussed

above 14:

       The government intends to call Edgar Roque, Donald Williams, and possibly

others. They will likely testify about conversations they had with other members of

the conspiracy. For instance, Roque will testify about regular conversations he had

while in Los Angeles with co-conspirators regarding the drug conspiracy, including

co-conspirators’ confirming for Roque that narcotics-laden packages shipped via

Amtrak Express had been received in Chicago, that the drugs inside the packages

had been successfully distributed, and that narcotics proceeds associated with the

sale of the drugs had been collected and laundered. Williams, meanwhile, is expected

to testify about purchasing wholesale quantities of narcotics from Edgar Roque, about

brokering deals to others, and about exchanging narcotics for cash on multiple

occasions with Mireles in connection with deals he arranged with Edgar.

       The government further plans to introduce numerous communications among

the coconspirators from 2015 and 2016. These statements were obtained through

search warrants on the coconspirators’ various Instagram accounts as well as cell




       14      Given the extent and number of such statements in this case, the government
is not detailing each and every proposed coconspirator statement of each witness or
document, but rather is providing this general framework for the categories of statements.
Further, by attributing statements to particular witnesses in this Santiago proffer, the
government is not committing to call each of the witnesses for each of the statements
attributed. Of course, the government is committed to establishing the Bourjaily predicates
at trial and the ultimate admissibility of coconspirator statements is governed by the trial
evidence.



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phones used by the coconspirators. The government also obtained additional

statements through the use of Title III wiretaps on Edgar Roque’s and Omar

Ramirez’s Instagram accounts, two of Edgar Roque’s telephones, and several

BlackBerry Messenger devices. These communications include, but are not limited to

the statements detailed above concerning: identifying other members of the

conspiracy and their roles, identifying the structure of the conspiracy and

responsibilities of the conspirators, and discussion of coconspirators’ criminal

activities and the roles of participants in the conspiracy’s illegal activities. The

communications also include statements to meet to build trust among coconspirators;

to plan drug deliveries; concerning negotiating quantities and prices; involving

logistics (such as when and where to meet, and who will participate); involving the

progress of a particular drug delivery (such as Mendoza’s ledger in October 2015); to

inform coconspirators about the presence of law enforcement.

      The specific statements discussed above are representative samples of the

types of statements that fall into these categories and are admissible as coconspirator

statements. As is evident from the categories’ description, all such statements made

by coconspirators furthered the conspiracy. Thus, under the case law summarized

above, all such statements are properly admitted at trial as coconspirator statements

under Federal Rule of Evidence 801(d)(2)(E).

II.   Admission of Evidence under Rule 404(b)

      The government also seeks permission to introduce evidence concerning

Mireles’s failure to file tax returns in 2014 and 2015 as well as evidence of his flight




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from law enforcement officers following his arrest in 2016. That evidence is

admissible under Rules 401, 403, and 404(b).

      A.     Evidence the Government Seeks to Admit

             1.    Tax Records

      Per orders entered by Chief Judge Rubén Castillo, the government obtained

tax returns and return information for a number of individuals under investigation

in this case, including Mireles. On June 14, 2017, this Court entered an order

permitting the government to produce Mireles’s tax return information to Mireles.

R. 235.

      The tax return information obtained from the IRS and produced in accordance

with this Court’s order show that Mireles did not file tax returns for tax years 2013,

2014, or 2015.

             2.    Mireles’s Flight

      The government arrested a number of individuals charged in this case on

October 25, 2016. Among the individuals arrested were Mireles and Edgar Roque,

who were arrested by the same team of law enforcement officers in the morning of

October 25. Exhibit C contains a report of the arrest. As discussed in the report,

following Mireles’s arrest, he escaped from custody and fled.

      More specifically, early in the morning on October 25, DEA Special Agent Nina

Goteva as well as law enforcement officers from the DEA in Los Angeles and the

Hawthorne Police Department assembled to arrest Edgar Roque and Mireles. The

team went first to Edgar’s residence where they announced themselves and arrested

Edgar without incident. The team then moved to Mireles’s residence. At about


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6:30 a.m., the team arrived at Mireles’s residence and took him into custody. The

team then drove in three vehicles back to DEA’s facilities in Los Angeles with Edgar

in one of the vehicles and Mireles in another. Both individuals were in cuffs with their

hands behind their backs for the trip to DEA’s offices.

      While headed northbound on the 710 Freeway, the caravan came to a stop

while in heavy morning traffic. Mireles—with his hands still cuffed behind his back—

then opened the door to the vehicle in which he was being transported, jumped out of

the vehicle, and began to run away from the law enforcement officers southbound on

the 710 Freeway. Mireles then jumped over the center dividing wall of the highway

and ran across southbound traffic to the other side of the highway. Mireles found a

maintenance vehicle with its keys nearby parked by the southbound side of the

710 Freeway, got into the vehicle, and drove away. The law enforcement officers

transporting Mireles and Edgar were not able to follow Mireles because their vehicles

were stuck on the northbound side of the highway and because they were still

transporting Edgar to the DEA. As a result, Mireles successfully fled and remained

a fugitive until May 2018—a period of about 18 months.

      B.     The Rules of Evidence Permit Admission of Mireles’s Acts

      Mireles’s failure to file tax returns for 2014 and 2015, and his flight from

prosecution in October 2016, are admissible under Rule 404(b)(2). According to that

rule, evidence “of a crime, wrong, or other act is not admissible to prove a person’s

character in order to show that on a particular occasion the person acted in

accordance with the character.” Fed. R. Evid. 404(b)(1). But, such evidence is

admissible to prove “motive, opportunity, intent, preparation, plan, knowledge,


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identity, absence of mistake, or lack of accident.” Fed. R. Evid. 404(b)(2); United

States v. Gomez, 763 F.3d 845, 852 (7th Cir. 2014) (en banc). In Gomez, the Seventh

Circuit explained that Rule 404(b) requires a “chain of reasoning that supports [a]

non-propensity purpose for admitting the evidence. . . . [T]he rule allows the use of

other-act evidence only when its admission is supported by some propensity-free

chain of reasoning.” Gomez, 763 F.3d at 856; see also United States v. Lawson, 776

F.3d 519, 521–22 (7th Cir. 2015).

             1.     Failure to File Tax Returns

      The Seventh Circuit regularly has held that a failure to file tax returns is

admissible evidence under Rule 404(b). E.g., United States v. Mendoza, 382 F. App’x

507, 511 (7th Cir. 2010); United States v. Briscoe, 896 F.2d 1476, 1500 (7th Cir. 1990);

see also United States v. Benalcazar, No. 09 CR 144, 2011 WL 4553027, at *15 (N.D.

Ill. Sept. 29, 2011) (explaining that “the failure to document his income in tax returns

during the years that he participated in the scheme is relevant to his desire to conceal

any ill-gotten profits as well as his knowledge of the scheme’s illegality”).

      This evidence remains admissible even under the rules-based approach to

Rule 404(b) announced in Gomez. As the court explained in Briscoe, when a defendant

in a drug conspiracy had substantial unreported income in a tax year and failed to

file tax returns in that year, the evidence is relevant because “a defendant’s

possession and expenditure of large sums of money, as well as his or her failure to

file tax returns,” establish “that the defendant lacked a legitimate source of income.”

Briscoe, 896 F.2d at 1500. From there, a jury can infer that “the reason for the failure

to report this income is due to the defendant’s participation in illegal activities.” Id.


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Such use would be to show defendant’s knowledge of the narcotics conspiracy in which

he was charged with participating. That is a permissible use and not merely to show

that the defendant had a character to commit crime and thus must have committed

the charged crime in this case (i.e., propensity). And, the probative value of the

evidence—proving defendant’s knowledge—is not outweighed by any unfair

prejudice.

      That is precisely the situation in this case. Between February and June 2015,

approximately $41,250 was deposited into Mireles’s Bank of America account. The

funds were deposited in Illinois, California, New York, and Massachusetts. Mireles

withdrew about $29,408 of those funds that occurred in rapid succession following

each deposit. (Records also show that Mireles withdrew an additional $7,944 in

December 2014.) The timing of the deposits and withdrawals, the locations of the

deposits and the fact that Mireles made all withdrawals in California, and the fact

that Mireles failed to file tax returns reporting these funds to the IRS all show that

these funds did not come from a legitimate source of income. From there, a jury

reasonably could infer that the funds instead came from the conspiracy drug-

trafficking activities, and that Mireles’s withdrawals of the funds showed Mireles’s

active participation in the conspiracy. In these ways, the fact that Mireles failed to

file tax returns is relevant to showing that Mireles committed the conspiracy crime

with which he is charged. This purpose is not in any way a propensity argument. And,

the evidence is highly probative, undermining any potential claim that the Court

should bar the evidence under Rule 403.




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             2.     Flight

      Evidence of flight is admissible to show consciousness of guilt and guilt itself.

United States v. Robinson, 161 F.3d 463, 467 (7th Cir. 1998); see also, e.g., United

States v. Perez-Martinez, 746 F. App’x 468, 475 (6th Cir. 2018), cert. denied, 139 S.

Ct. 849 (2019) (“Flight evidence comes in as an admission of guilt by conduct . . . .”);

United States v. Fox, 627 F. App’x 608, 609 (9th Cir. 2015).

      Here, Mireles unquestionably knew that he was under arrest and in the

custody of law enforcement at the time of his escape: Mireles was arrested at his home

after the arresting officers announced themselves at his front door, he was placed in

handcuffs and placed in the back of a law enforcement vehicle, and when he escaped

from the vehicle, law enforcement officers chased him. In light of the facts of Mireles’s

escape from custody while on his way to the DEA’s offices in Los Angeles, and while

his coconspirator (Edgar Roque) was seated in another vehicle of the same caravan

on the way to the DEA, the jury reasonably can infer that Mireles took this extreme

step of escaping (and placing his safety at significant risk) because he knew he had

committed significant drug-trafficking crimes and was about to face a lengthy term

of imprisonment as a result.

      As such, Mireles’s flight amounts to an admission of guilt by Mireles that he

committed the drug conspiracy crime with which he is charged. That makes this

evidence relevant and highly probative. Moreover, this is a basis for admission

unrelated to showing conformity with a character trait—this is not a propensity

argument—meaning that Rule 404(b)(1) does not prohibit admission.




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III.   Conclusion

       The above is an outline of the evidence that the government intends to

introduce to establish that the charged drug-trafficking and money-laundering

conspiracy existed. Based upon this proffer, the government respectfully requests

that this Court find that categories of coconspirator statements listed above, as well

as coconspirator statements like them, are admissible pending the introduction of

evidence to support this proffer.

                                              Respectfully submitted,
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